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 1
 2
 3                                  NOT FOR PUBLICATION
 4
 5
 6                      IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9    Goldwater Institute,                            No. CV-15-01055-PHX-SRB
10                  Plaintiff,                        ORDER
11    v.
12    United States Department of Health and
      Human Services,
13
                    Defendant.
14
15          Plaintiff Goldwater Institute (“Plaintiff”) brought this Freedom of Information Act
16   matter after Defendant United States Department of Health and Human Services
17   (“Defendant” or “HHS”) denied Plaintiff’s FOIA request for records from the United States
18   Food and Drug Administration (“FDA”). The Court has twice denied summary judgment
19   and ordered Defendant to submit Vaughn indices of withheld documents. The parties have
20   submitted a third round of summary judgment briefing, on which the Court heard oral
21   argument on December 4, 2018. (Doc. 84, Minute Entry.) The Court now resolves
22   Plaintiff’s Third Motion for Summary Judgment (“PMSJ”) (Doc. 73) and Defendant’s
23   Renewed Motion for Summary Judgment (“DMSJ”) (Doc. 77).
24   I.     BACKGROUND
25          The Court has previously summarized the factual background of this case:
26                 On August 7, 2014, Plaintiff submitted a Freedom of
                   Information Act (“FOIA”) request to the United States Food
27                 and Drug Administration (“FDA”) seeking
28                        Any and all records that indicate the approval
                          process, deliberations made during that process,
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 1                    and final approval records regarding provision or
                      approval of the drug and serum “ZMapp” to be
 2                    administered to Dr. Kent Brantly and Ms. Nancy
                      Writebol, or any other individuals suspected to
 3                    be infected with the Ebola virus, under the
                      “compassionate use” process or any other
 4                    approval process at the FDA.
 5             FDA referred Plaintiff’s FOIA request to the Division of
               Information Disclosure Policy (“DIDP”) because ZMapp is
 6             regulated by the Center for Drug Evaluation and Research.
               ZMapp is a biological product that has an active Investigational
 7             New Drug application (“IND”) but no approved Biologics
               Licensing Application (“BLA”). DIDP examined the FOIA
 8             request and determined that Plaintiff sought records contained
               in INDs, the disclosure of which is prohibited by FDA
 9             regulations unless they have been publicly disclosed or
               acknowledged by their sponsor. On September 29, FDA denied
10             Plaintiff’s FOIA request because it “sought trade secrets and
               [confidential commercial information (“CCI”)] exempt from
11             disclosure under FOIA Exemption 4,” as well as FDA
               regulations and the Federal Trade Secrets Act. Plaintiff
12             appealed FDA’s denial to HHS on October 23. On February
               19, 2015, HHS denied Plaintiff’s FOIA appeal citing FOIA
13             Exemptions 3, 4, 5, and 6, as well as the aforementioned FDA
               regulations governing IND disclosure.
14
               After Plaintiff filed this case, FDA became aware that Dr.
15             Brantley and Ms. Writebol had publicly disclosed their receipt
               of three doses of ZMapp. On November 24, 2015, FDA
16             provided Plaintiff copies of the two emails authorizing Dr.
               Brantly’s and Ms. Writebol’s expanded access INDs to
17             proceed because the report was drafted by the two patients and
               ZMapp’s physician-sponsor. FDA also produced three
18             documents describing the agency’s general process for
               authorizing expanded access INDs for treatment of individuals
19             in emergency situations. The agency continued, however, in its
               refusal to disclose records of its deliberations concerning
20             authorization, as well as a third expanded access IND
               authorization.
21
               On June 16, 2016, the Court ordered Defendant to submit a
22             Vaughn index of withheld records to determine whether
               Defendant properly invoked the above-referenced FOIA
23             exemptions and if any documents contained in nine volumes of
               responsive records withheld in its initial denial can be
24             segregated from the exempted documents. Defendant
               submitted two indices describing the records withheld and
25             stating the basis for withholding each. Because the descriptions
               in the second Vaughn index revealed the existence of a third
26             expanded access IND, Defendant deemed the email
               authorization “available for public disclosure” and released it
27             on November 24, 2016.
28


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 1   (Doc. 66, Jan. 24, 2018 Order at 1–3 (citations and footnotes omitted).)1
 2           After a second round of briefing, the Court ordered Defendant to submit a revised,
 3   consolidated Vaughn index that addressed certain concerns. First, the Court ordered
 4   Defendant to disclose several responsive documents previously labeled as nonresponsive,
 5   or else demonstrate their exemption. (Id. at 9–10.) Second, the Court ordered Defendant to
 6   provide better descriptions to allow the Court to resolve the segregability of nonexempt
 7   information from otherwise-exempt documents. (Id. at 11–12.) Finally, to avoid the
 8   possible overinclusion of documents in the IND file, the Court ordered Defendant to “(1)
 9   identify[] the agency policy or guidelines defining the components of an IND file, (2)
10   indicat[e] which records withheld here are considered a part of the IND file, and (3)
11   justify[] its placement of those particular documents in the IND file.” (Id. at 12.) Defendant
12   filed a Revised, Consolidated Vaughn Index (“RCVI”) (Doc. 69-2) on March 8, 2018, and
13   the parties later cross-moved for summary judgment.
14   II.     LEGAL STANDARD & ANALYSIS
15           The Freedom of Information Act (“FOIA”) requires government agencies to make
16   certain information about their activities available to the public. See 5 U.S.C. § 552. “The
17   FOIA embodies a strong federal policy in favor of full agency disclosure of government
18   documents. Any inquiry under the Act thus begins with a strong presumption in favor of
19   disclosure.” Church of Scientology Int’l v. U.S. I.R.S., 995 F.2d 916, 919 (9th Cir. 1993)
20   (internal quotations omitted). “The [FOIA] contains nine exemptions to its general policy
21   mandating the broad disclosure of government documents. These nine exemptions are to
22   be narrowly construed by the courts.” GC Micro Corp. v. Def. Logistics Agency, 33 F.3d
23   1109, 1112 (9th Cir. 1994). An agency may withhold a requested document “only if the
24
     1
       The emails authorizing Dr. Brantly’s and Ms. Writebol’s expanded access INDs
25   contained the following identical language:
26                 We have reviewed your emergency IND request and have
                   granted the use of ZMapp for this patient. IND 123,630 has
27                 been assigned to this request. Please let us know if you have
                   any additional questions or concerns.
28
     (Jan. 24, 2018 Order at 2 n.2.)

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 1   material at issue falls within one of the nine statutory exemptions.” Maricopa Audubon
 2   Soc’y v. United States Forest Serv., 108 F.3d 1082, 1085 (9th Cir. 1997). The burden is on
 3   the agency to show that withheld materials are exempt from disclosure. § 552(a)(4)(B); see
 4   also Minier v. CIA, 88 F.3d 796, 800 (9th Cir. 1996). Courts may rely solely on government
 5   affidavits in resolving FOIA cases. Lion Raisins, Inc. v. USDA, 354 F.3d 1072, 1082 (9th
 6   Cir. 2004).
 7           The cross-motions concern 60 records listed in Defendant’s latest Vaughn index.
 8   (See PMSJ at 14.) Plaintiff makes five arguments for their disclosure. First, Plaintiff
 9   maintains that the Court’s last Order belies Defendant’s continued view that records
10   regarding personal importation of ZMapp are nonresponsive. (Id. at 4–6.) Second, Plaintiff
11   argues that other records related to IND timing and approval are likewise responsive and
12   subject to disclosure. (Id. at 6–8.) Third, Plaintiff challenges Defendant’s reliance upon
13   FDA regulations governing disclosure of IND file contents. (Id. at 8–11.) Fourth, Plaintiff
14   questions the deliberative nature of three records concerning the FDA’s evaluation of an
15   expanded access IND. (Id. at 11–13; see also RCVI at 17 (line 31), 19 (lines 35–36).)
16   Finally, Plaintiff remains insistent that responsive information is segregable from any
17   otherwise-exempt records. (PMSJ at 13–14.) The third is dispositive.
18           The Court’s previous Order provides a useful starting point. There the Court found
19   that, per FDA regulations implementing Exemption 4, Defendant had properly withheld all
20   legitimate IND file contents. (See Jan. 24, 2018 Order at 5–6, 12.) Uncertain about the
21   file’s proper composition, however, the Court ordered Defendant to supplement its Vaughn
22   index accordingly. (Id. at 12.) As expected, Defendant considers all withheld records to be
23   a part of the IND file. If Defendant is correct, the analysis ends there. (See id.) That is the
24   law of the case.2 See United States v. Phillips, 367 F.3d 846, 856 (9th Cir. 2004).
25           A.    Agency Policy Governing IND Files
26
     2
       Plaintiff neither acknowledges the Court’s earlier finding nor offers a basis for departing
27   from it. See United States v. Alexander, 106 F.3d 874, 876 (9th Cir. 1997) (listing
     circumstances warranting departure from law of the case). The Court nevertheless
28   addresses Plaintiff’s continued argument against the FDA’s reliance on regulations
     governing the disclosure of information contained in IND files.

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 1           Plaintiff does not immediately question the placement of specific records in the IND
 2   file.3 Plaintiff instead focuses on Defendant’s reliance on regulations governing their
 3   disclosure—namely, by accusing Defendant of undermining the FOIA with its “broad and
 4   unilateral policy” governing IND files. (PMSJ at 8.)
 5           The first example of such subversion, Plaintiff argues, is DIDP Director Nancy
 6   Sager’s declaration. (Id.) By describing the latest Vaughn index in the first person—for
 7   instance, explaining “the reason(s) why I consider each email to be a part of the expanded
 8   access IND file”—Director Sager ostensibly considers herself the sole authority on IND
 9   file contents. (See id. (citing Doc. 69-1, Sixth Decl. of Nancy B. Sager (“Decl.”) ¶ 5).) Far
10   from it. As its name suggests, a declaration tends to bear the voice of its declarant.
11   Meanwhile, a closer look reveals that Director Sager specifies which policies govern IND
12   files and how she believes they apply here. (See Decl. ¶¶ 7–13.) Precisely what the Court
13   ordered.
14           Plaintiff next takes aim at the regulations themselves. Plaintiff argues that the FDA
15   is using its own regulations and internal policies to undo the will of Congress by expanding
16   the limited exemptions to the FOIA. (See PMSJ at 9–10.) Of course, agencies may not
17   unilaterally determine their FOIA obligations. See Lessner v. U.S. Dep’t of Commerce, 827
18   F.2d 1333, 1335 (9th Cir. 1987) (“A basic policy of FOIA is to ensure that Congress and
19   not administrative agencies determines what information is confidential.”). But that is not
20   what the FDA is doing—at least not this time. Cf. Teich v. FDA, 751 F. Supp. 243, 249
21   (D.D.C. 1990) (rejecting FDA “presubmission review” regulations as “nothing more than
22   an attempt to get around the FOIA”).
23           Consider the relevant regulatory landscape. Per Exemption 4, FOIA does not require
24   disclosure of “trade secrets and commercial or financial information obtained from a
25   person and privileged or confidential.” 5 U.S.C. § 552(b)(4). FDA regulations
26   implementing Exemption 4 similarly provide that “[d]ata or information submitted or
27   3
       To the extent Plaintiff does question the IND file’s composition, it relies on briefing
     submitted in support of its original summary judgment motion. (See PMSJ at 9 (citing
28   briefing in arguing that “the regulations the FDA is relying on do not apply to the records
     sought in this case”).

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 1   divulged to the [FDA] which fall within the definitions of a trade secret or of confidential
 2   commercial or financial information are not available for public disclosure.” 21
 3   C.F.R. § 20.61(c); see also § 20.61(a), (b) (defining “trade secret” and “commercial or
 4   financial information that is privileged or confidential”).4 Such a designation “expire[s] 10
 5   years after the records were submitted to the [FDA].” § 20.61(d). The FDA also regulates
 6   experimental drugs pursuant to the Food, Drug, and Cosmetic Act of 1938 (“FDCA”).5 The
 7   regulations pertinent here govern INDs, which provide for the investigation of an
 8   experimental drug’s safety and effectiveness. See 21 U.S.C. § 355(i); 21 C.F.R. § 312.1 et
 9   seq. These regulations prohibit the disclosure of even the existence of an IND before it is
10   “publicly disclosed or acknowledged.” 21 C.F.R. §§ 312.130(a), 601.50(a).6 In the event
11   of such a pre-license disclosure, “no data or information contained in the [IND] file is
12   available for public disclosure before such license is issued.” § 601.51(d)(1). Once a
13   license issues, much of the IND file’s contents—save certain proprietary information—
14   “are immediately available for public disclosure unless extraordinary circumstances are
15   shown.” § 601.51(e), (f).
16           Plaintiff argues that Defendant is using this scheme to expand the FOIA’s narrow
17   statutory exceptions. Indeed, Plaintiff contends that other courts have already rejected
18   similar attempts to withhold IND file contents. (PMSJ at 10–11.) Not quite.
19           Plaintiff first points to Government Accountability Project v. U.S. Department of
20   Health and Human Services.7 That case, like this one, involved a FOIA request to the FDA.
21   And the similarities end there. HHS did raise some of the same regulations it does here,
22   but not to prevent disclosure. See 691 F. Supp. 2d at 176 (“At no point . . . do Defendants
23   argue that the information at issue in this case is subject to these specific regulatory
24   provisions . . . .”). Another, albeit unrelated regulatory compliance question was also “not
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     4
       The Trade Secrets Act criminalizes the disclosure of such information by an FDA
26   employee. See 18 U.S.C. § 1905.
     5
       21 U.S.C. §§ 301–397.
27   6
       See also 21 C.F.R. § 312.130(b) (“The availability for public disclosure of all data and
     information in an investigational new drug application for a biological product will be
28   governed by the provisions of §§ 601.50 and 601.51.”).
     7
       691 F. Supp. 2d 170 (D.D.C. 2010).

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 1   presently before the Court.” Id. at 177. The irrelevance of these regulations was not, as
 2   Plaintiff suggests, a matter of invalidity, but of non-reliance. See id. at 176 (“Careful review
 3   . . . makes clear that Defendants do not affirmatively rely on these provisions to justify the
 4   withholdings at issue.”). No analogous omission arose here.
 5            Plaintiff’s reliance on Teich is similarly misplaced. There the district court rejected
 6   the FDA’s use of a “presubmission review” regulation that allowed regulatees to file
 7   documents with the FDA without fear of FOIA-mandated disclosure. See 751 F. Supp. at
 8   246. The agency did this by first determining which of the filed documents were exempt
 9   from the FOIA, then allowing regulatees to withdraw any unprotected documents without
10   them becoming “agency records.” See id. at 246–47. Only one problem: the Supreme Court
11   had already defined the term to include any document created or obtained by an agency in
12   performing its official duties. Id. at 248 (citing U.S. Dep’t of Justice v. Tax Analysts, 492
13   U.S. 136, 144–46 (1989)). Once the documents were filed, they became agency records
14   subject to the FOIA. See id. The present arrangement, by contrast, scarcely “forge[s] a
15   Northwest passage around the FOIA.” See id. at 247. Neither the FOIA nor the FDCA
16   regulations engage in the sort of semantic parlor games seen in Teich. No redefinition of
17   well-established terms; no agenda to completely dodge the FOIA. Quite the contrary, in
18   fact. The present arrangement explicitly anticipates the public disclosure of the information
19   it covers. See 21 C.F.R. §§ 20.61(d), 601.51(e), (f).
20            This eventuality apparently sufficed in R&D Laboratories, Inc. v. FDA.8 There the
21   FDA denied a FOIA request for the contents of a pending NDA. See 2000 U.S. Dist. LEXIS
22   20209, at *13. Although without explicitly invoking the scheme at issue, the FDA argued—
23   and the court agreed—that “while the unapproved application is pending it is confidential
24   in toto.” Id., at *18; see also 21 C.F.R. §§ 314.430(d)(1), 601.51(d)(1). Consistent with
25   Exemption 4, the court found that requiring the FDA to produce so much as a Vaughn index
26   would harm competition and “would frustrate the Government’s gathering of information
27   for review in the future.” R&D Labs., 2000 U.S. Dist. LEXIS 20209, at **18–19; accord
28
     8
         No. 00-cv-0165 (JLG), 2000 U.S. Dist. LEXIS 20209 (D.D.C. Sept. 7, 2000).

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 1   GC Micro Corp., 33 F.3d at 1112–13 (“Information qualifies as ‘confidential’ for the
 2   purposes of Exemption 4 if disclosure is likely to have either of the following effects: (1)
 3   to impair the Government’s ability to obtain necessary information in the future; or (2) to
 4   cause substantial harm to the competitive position of the person from whom the
 5   information was obtained.”) (quotation and citation omitted). Such a rule did not
 6   undermine the FOIA. The requester was still entitled to application information, just after
 7   an approval decision. See R&D Labs., 2000 U.S. Dist. LEXIS 20209, at *19.
 8           So too here. The Court detects no meaningful distinction between the application
 9   file in R&D Laboratories and this one. Both contain important developmental,
10   compositional, safety, and manufacturing data, the revelation of which before a licensing
11   decision would likely impede future candor on the part of submitting entities. See id., at
12   *18; see also Judicial Watch, Inc. v. FDA, 449 F.3d 141, 148–49 (D.C. Cir. 2006)
13   (observing FDA “incentive to be a good steward” with application file information).9 Of
14   course the calculus changes after a licensing decision. A renewed FOIA request can be
15   made then, at which point the FDA will, per its own regulations, be required to justify any
16   continued withholdings by some other means. See 21 C.F.R. § 601.51(d)(1); R&D Labs.,
17   2000 U.S. Dist. LEXIS 20209, at *19. Until that time, though, Exemption 4 extends to the
18   IND file, and the Court’s earlier finding stands.10 See Alexander, 106 F.3d at 876.
19           B.    Records in the ZMapp IND File
20
     9
       While the D.C. Circuit determined that “Exemption 4 extends to at least some information
21   contained in INDs and NDAs,” it ultimately found that such information is not
     “categorically exempt” from disclosure. Judicial Watch, 449 F.3d at 148, 149. The Court
22   is less certain. First, Judicial Watch did not address the regulatory scheme raised here. See
     id. at 148–50. Second, the court based this conclusion on an earlier, distinguishable
23   decision. Id. at 149 (citing Public Citizen Health Research Grp. v. FDA, 185 F.3d 898, 906
     (D.C. Cir. 1999)). Public Citizen concerned a FOIA request for information in an
24   abandoned drug application and, like Judicial Watch, also did not address the regulations
     that the FDA invokes here. See 185 F.3d at 901. The Court therefore gleans little guidance
25   from either decision. Accord R&D Labs., 2000 U.S. Dist. LEXIS 20209, at **17–18
     (distinguishing Public Citizen).
26   10
        Such a per se exemption, while uncommon, is not unprecedented. See, e.g., F.T.C. v.
     Grolier Inc., 462 U.S. 19, 28 (1983) (permitting categorical withholding of attorney work
27   product under Exemption 5); Wiener v. F.B.I., 943 F.2d 972, 978 n.5 (9th Cir. 1991)
     (recognizing that an “entire class” of requested documents could be “per se exempt from
28   disclosure regardless of the content of each withheld document”) (citing Lewis v. I.R.S.,
     823 F.2d 375, 380 (9th Cir. 1987)), cert. denied, 505 U.S. 1212 (1992).

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 1          Defendant still must justify the IND file’s contents. See Public Citizen, 185 F.3d at
 2   904. Along with its revised Vaughn index, Defendant included a declaration from Ms.
 3   Sager detailing the policies governing IND files. She explains that in addition to CCI, the
 4   IND file also contains private information regarding study participants, correspondence
 5   and other sponsor communications, and scientific reviews. (Decl. ¶ 7.) Email
 6   communications—whether internal discussions among reviewers or between the agency
 7   and a sponsor—are also included. (Decl. ¶ 8.)
 8          Ms. Sager cites two pieces of guidance to explain the FDA’s approach. (See
 9   Decl. ¶¶ 9–11.) First, FDA regulations define “administrative file” as “the file or files
10   containing all documents pertaining to a particular administrative action, including internal
11   working memoranda, and recommendations.” 21 C.F.R. § 10.3(a). An “administrative
12   action” encompasses “every act, including the refusal or failure to act, involved in the
13   administration of any law by the Commissioner.” Id. Though not expressly contemplated
14   by regulation, Ms. Sager understands the approval (or not) of an IND or NDA to be an
15   administrative action. (See Decl. ¶ 9.) As such, the agency considers the documents at
16   issue—all of which pertain to a still-pending action—to be part of the IND file. (See id.
17   (citing 21 C.F.R. §§ 312.130, 601.50, and 601.51(a)).) Second, Ms. Sager points to the
18   CDER Program Records Control Schedule (“PRCS”) (Doc. 70). (See Decl. ¶ 10.) The
19   PRCS lists a similarly broad range of records that make up an IND file, including
20   “correspondence” and “other related materials.” (See PRCS at 1, 4.)
21          Plaintiff advances a more limited view. (See PMSJ at 9 (citing Doc. 25, Mem. in
22   Supp. of Pl’s Resp. to Def.’s Mot. for Summary J. & Pl.’s Cross-Mot. for Summary J.
23   (“Mem.”) at 8–9).) Applicable regulations define the “biological product file” as “all data
24   and information submitted with or incorporated by reference in any application for a
25   biologics license, IND’s incorporated into any such application, master files, and other
26   related submissions.” 21 C.F.R. § 601.51(a). Seizing upon the term “submissions,”
27   Plaintiff maintains that the IND file includes “information provided to the agency, not
28   information or records created by the agency.” (Mem. at 9.) Because the emails were


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 1   generated within the agency, they cannot be part of the file—or so the argument goes.
 2          Plaintiff’s distinction proves illusory. Even if the file may only include information
 3   provided to the agency, it follows that emails discussing that information, even if only
 4   within the agency, must be included as well. This is consistent with the FOIA’s
 5   information-document distinction. See ACLU of N. Cal. v. U.S. Dep’t of Justice, 880 F.3d
 6   473, 489 (9th Cir. 2018) (observing that “the focus of the FOIA is information, not
 7   documents”) (quotation and modification omitted). Plaintiff’s approach, conversely, would
 8   make it impossible for the agency to discuss records in an IND file without simultaneously
 9   forfeiting the confidentiality of the information they contain. There is no reason to believe
10   the FDA designed § 601.51(a) to force such a false choice. In fact, at least one court in this
11   circuit has understood an analogous regulation to include “internal FDA memoranda and
12   other correspondence” in a drug application file. See Citizens Comm’n on Human Rights
13   v. FDA, No. 92CV5313, 1993 WL 1610471, at *2 (C.D. Cal. May 10, 1993) (referring to
14   21 C.F.R. § 314.430), aff’d in part, remanded in part, 45 F.3d 1325 (9th Cir. 1995). This,
15   too, is the Court’s view.
16          The term “other related submissions” hardly forecloses the inclusion of inter- and
17   intra-agency emails in an IND file. Lacking a precise definition or illustrative examples,
18   the term is arguably ambiguous. See Marsh v. J. Alexander’s LLC, 905 F.3d 610, 624 (9th
19   Cir. 2018) (finding regulatory term ambiguous given absence of precise definition or useful
20   examples). If so, the FDA’s interpretation remains reasonable. See id. (deferring to agency
21   interpretation of regulation unless “plainly erroneous or inconsistent with the regulation”)
22   (quoting Auer v. Robbins, 519 U.S. 452, 461 (1997)). Given the abovementioned under-
23   inclusion risk, which would frustrate the purpose of protecting the IND file’s contents, it
24   is reasonable to construe “other related submissions” to include internal agency emails as
25   well—that is, provided they relate to the underlying application. See 21 C.F.R. § 601.51(a);
26   21 C.F.R. § 10.3(a). (See PRCS at 1, 4.) Indeed, the regulation appears to contemplate this
27   arrangement. Subsection (e) lists the “data and information in the biological product file”
28   that becomes publicly available after a licensing decision. § 601.51(e) (emphasis added).


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 1   The list includes, among other things, “[a]ll correspondence and written summaries of oral
 2   discussions relating to the biological product file.” § 601.51(e)(6). Circularity aside, the
 3   agency reasonably interpreted the regulation to include application-related internal
 4   correspondence.
 5          Each of the 60 documents here is either an internal FDA email or an email between
 6   the agency and an IND sponsor.11 Plaintiff only disputes the former’s inclusion.12 (See
 7   Mem. at 9 (disputing inclusion of “all inter-agency and intra-agency government e-
 8   mails”).) Plaintiff nevertheless omits any argument that they are not reasonably related to
 9   the ZMapp application. These internal emails include status updates regarding the
10   expanded access submission, discussions about information to request from IND sponsors,
11   the location of doctors familiar with ZMapp’s administration, and discussions concerning
12   sponsor-submitted information. Defendant maintains that each belongs in the IND file
13   because it pertains to ZMapp, which has an active IND application. (See DMJS at 10–12.)
14   The descriptions in the Vaughn index reasonably support this conclusion. And that is all
15   the law requires.13 See Lewis, 823 F.2d at 378 (“If the affidavits contain reasonably detailed
16   descriptions of the documents and allege facts sufficient to establish an exemption, the
17   district court need look no further.”) (quotation omitted).
18          IT IS ORDERED denying Plaintiff’s Third Motion for Summary Judgment (Doc.
19   73) and granting Defendant’s Renewed Motion for Summary Judgment (Doc. 77).
20   ...
21   ...
22   ...
23   11
        (See RCVI lines 2–3, 7–8, 13, 16, 18–19, 22–23, 27–36, 38, 41, 43–44, 47–50, 56–58,
     60, 72, 76, 79, 80–83, 85–86, 89, 91–98, 100–101, 103–105, 107, 109–111, 113.)
24   12
        Plaintiff does not appear to object to the latter group’s placement in the IND file. Plaintiff
     instead argues that these records should be disclosed because Defendant continues to
25   categorize them as nonresponsive without listing a separate exemption. (See PMSJ at 4–
     8.) That may be true; however, the Vaughn index did explain that these emails pertain to
26   the ZMapp application, and as such, are part of the IND file. (See also DMSJ at 10.)
     Because all legitimate IND file contents are exempt, no further discussion is necessary.
27   (See Jan. 24, 2018 Order at 5–6, 12.)
     13
        Otherwise-segregable information in the IND file is also exempt. (See Jan. 24, 2018
28   Order at 12 (“. . . Defendant need not explain the segregability of information contained in
     those documents rightfully housed in the IND file.”).)

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 1         IT IS FURTHER ORDERED directing the Clerk to enter judgment in favor of
 2   Defendant and against Plaintiff.
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 4         Dated this 8th day of February, 2019.
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